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                                   #:1539




                                   EXHIBIT A
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                                                #:1540




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            Counsel for Bradley D. Sharp,
         12 Permanent Receiver
         I3
                                  UNITED STATES DISTRICT COURT
         14
                                CENTRAL DISTRICT OF CALIFORNIA
         15
                                WESTERN DIVISION - LOS ANGELES
         16
            SECURITIES AND EXCHANGE              Case No. 2:19-cv-02188-DSF-MRW
         17 COMMISSION,                          Hon. Dale S. Fischer
         18
                               Plaintiff,                   DECLARATION OF ELIOT KANG
         19                                                 CONCERNING DL GLOBAL, LTD.
         20                    v.

         21 DIRECT LENDING INVESTMENTS
         22 LLC,
         23                   Defendant.
         24
         25
         26
         27
         28
              5929085.l                                I
                                                                    DECLARA TlON OF ELIOT KANG
FOIA Confid   tial Treatment Requested by DL Global, ltd.

                                                                                      SEC-DLG-E-0000001
                                                                                 USAO_ROSS 02982501
        Case 2:20-cr-00327-DSF             Document 156-1 Filed 01/31/25       Page 3 of 4 Page ID
                                                     #:1541




          l               I, Eliot Kang, declare and state:
          2               l.    I am a Director of DL Global, Ltd. ("DL Global"), an exempted
          3 company incorporated with limited liability under the law of the Cayman Islands. I
          4 have worked for DL Global in that capacity since August 22, 2017.
          5               2.    I provide this Declaration to Bradley D. Sharp ("Receiver") in his
          6 capacity as permanent receiver appointed by this Court for the estate of defendant
          7 Direct Lending Investments LLC ("DLI"), and Direct Lending Income Fund, L.P.,
          8 Direct Lending Income Feeder Fund, Ltd., DLI Capital, Inc., DLI Lending Agent,
          9 LLC, and DLI Assets Bravo, LLC ("DLI Bravo") and their successors, subsidiaries
         l O and affiliated entities (the "Receivership Entities" or individually a "Receivership
         11 Entity") in connection with the Settlement and Release Agreement dated as of
         12 November 22, 2019 ("Settlement") which DL Global is entering into with the
         13 Receiver with respect to the Loan Participations (as the term is defined below in the
         14 Settlement).
         15               3.    I have personal knowledge of the facts set forth in this Declaration,
         16 and, if called to testify, could testify competently thereto.
         17               4.    On behalf of DL Global, beginning in August 2017, I negotiated an
         18 agreement with Brendan Ross ("Ross"), who was acting on behalf of DLI and DLI
         19 Bravo for DL Global to purchase $200 million at par value in portions of loan and
         20 investment portfolios held by DLI and DLI Bravo, including $55 million in loans
         21   from the QuarterSpot portfolio (the "Loan Participations"). DL Global's agreement
         22 to purchase the $200 million in loans from DLI and DLI Bravo was reflected in a
         23 Binding Commitment Letter dated August 24, 2017 (the "Commitment").
         24               5.     At the time of the Commitment, and at all times after that until 2019, I
         25 had no awareness of any manipulation or misrepresentations as alleged in
         26 paragraphs 36 to 57 of the complaint filed by the Securities and Exchange
         27 Commission on or about March 22, 2019 in the matter entitled, Securities and
         28 Exchange Commission v. Direct Lending Investments, LLC, Case No. 19-cv-2188,
              5929085.l                                       2
                                                                            DECLARATION OF ELIOT KANG
FOIA Confid   tial Treatment Requested by DL Global, Ltd.

                                                                                                SEC-DLG-E-0000002
                                                                                           USAO_ROSS 02982502
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          1 United States District Court, Central District of California (the "Complaint").
          2               6.   Prior to 2019, I also was not aware of facts that caused me to believe
          3 that DLI, DLI Bravo or Ross had communicated incorrect loan payment data from
          4 QuarterSpot before or after entering into the Loan Participations, as alleged, inter
          5 alia, in the Complaint.
          6               7.   From the time of the Commitment through the date hereof, as far as I
          7 am aware, neither DL Global nor I, nor any individual or entity affiliated with DL
          8 Global or me, received any additional payments from Ross other than the $200,020
          9 wire transferred by Ross on or about August 31, 2017, which such sum represented
         l 0 reimbursement for redemption shortfalls to identified investment funds from
         11 August 2017.
         12               8.   From the date of the Commitment until 2019, I also had no awareness
         13 that Ross, DLI, or DLI Bravo had communicated incorrect information regarding
         14 the Liberty Loans, the DLIP Loans and/or SAI (as those terms are defined in the
         15 Settlement) to DL Global, nor was I aware of facts that caused me to believe that
         16 Ross, DLI, or DLI Bravo had communicated incorrect information regarding the
         17 Liberty Loans, the DLIP Loans and/or SAL I declare under penalty of perjury under
         18 the laws of the United States of America that the foregoing is true and correct.
         19               Executed on November 22, 2019 in New York, New York.
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                                                                         DECLARA TlON OF ELIOT KANG
FOIA Confid   tial Treatment Requested by DL Global, Ltd.

                                                                                            SEC-DLG-E-0000003
                                                                                       USAO_ROSS 02982503
